






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00572-CV






In the Interest of D. A. M.






FROM THE DISTRICT COURT OF BELL COUNTY, 146TH JUDICIAL DISTRICT

NO. 190,609-B, HONORABLE MICHAEL J. NELSON, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N




		Appellant Harolyn Marie Humphrey filed her notice of appeal September 29, 2009. 
On October 12, 2009, this Court received notice from the Bell County District Clerk that Humphrey
had not paid or made arrangements to pay for the clerk's record.  The clerk's record has not been
filed.  On November 10, 2009, the Clerk of this Court sent notice to Humphrey that this
appeal&nbsp;would be dismissed for want of prosecution if she did not submit a status report by
November&nbsp;20,&nbsp;2009.  On December 11, 2009, this Court was forwarded a certified copy of a letter
that Humphrey filed with the Bell County District Clerk asking the courts to withdraw her appeal
and stating that she no longer wishes to complete the appeals process.  Accordingly, we will dismiss
the appeal.  See Tex. R. App. P. 42.1(a)(1).




						                                                                                   

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Waldrop and Henson

Dismissed on Appellant's Motion

Filed:   December 22, 2009


